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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA



 SYMBOLOGY INNOVATIONS, LLC,                      )
                                                  )   C.A. No. ___________________
                        Plaintiff,                )
                                                  )
        v.                                        )
                                                  )
 FOR LIFE PRODUCTS, LLC                           )   JURY TRIAL DEMANDED
                                                  )
                        Defendant.                )
                                                  )
                                                  )

                 ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

         1.      Symbology Innovations, LLC (“Symbology” or “Plaintiff”), by and through its

 counsel, hereby brings this action for patent infringement against For Life Products, LLC (“For

 Life Products” or “Defendant”) alleging infringement of the following validly issued patent (the

 “Patent-in-Suit”): U.S. Patent No. 8,424,752, titled “System and method for presenting

 information about an object on a portable electronic device” (the “’752 Patent”), attached hereto

 as Exhibit A.

                                     NATURE OF THE ACTION

         2.      This is an action for patent infringement arising under the United States Patent Act

 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.

                                             PARTIES

         3.      Plaintiff Symbology Innovations, LLC is a Texas company with its principal place

 of business at 1400 Preston Road, Suite 400, Plano, TX 75093.

         4.      On information and belief, Defendant For Life Products, LLC is a company


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 established in Florida and may be served through its registered agent Silberman, Gary, Esq. at

 Offices at Grand Bay Plaza, 2665 S. Bayshore Dr., Suite 725, Coconut Grove, FL 33133.

                                   JURISDICTION AND VENUE

         5.      This lawsuit is a civil action for patent infringement arising under the patent laws

 of the United States, 35 U.S.C. § 101 et seq. The Court has subject-matter jurisdiction pursuant to

 28 U.S.C. §§ 1331, 1332, 1338(a), and 1367.

         6.      The Court has personal jurisdiction over Defendant for the following reasons: (1)

 Defendant is present within or has minimum contacts within the State of Florida and the Southern

 District of Florida; (2) Defendant has purposefully availed itself of the privileges of conducting

 business in the State of Florida and this district; (3) Defendant has sought protection and benefit

 from the laws of the State of Florida; and (4) Defendant regularly conducts business within the

 State of Florida and within this district, and Plaintiff’s cause of action arises directly from Florida’s

 business contacts and other activities in the State of Florida and in this district.

         7.      Defendant, directly and/or through intermediaries, ships, distributes, uses, offers

 for sale, sells, and/or advertises products and services in the United States, the State of Florida,

 and this district including but not limited to the products which contain the infringing ’752 Patent

 systems and methods as detailed below. Upon information and belief, Defendant has committed

 patent infringement in the State of Florida and in this district; Defendant solicits and has solicited

 customers in the State of Florida and in this district; and Defendant has paying customers that are

 residents of the State of Florida and this district and that use and have used Defendant’s products

 and services in the State of Florida and in this district.

         8.      Venue is proper in the Southern District of Florida pursuant to 28 U.S.C. §§

 1400(b). Defendant is established in and has a principle place of business in this district, has
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 transacted business in this district, and has directly and/or indirectly committed acts of patent

 infringement in this district.

                                         PATENT-IN-SUIT

         9.      The Patent-in-Suit teaches systems and methods for enabling a portable electronic

 device (e.g., smartphone) to retrieve information about an object when the object’s symbology

 (e.g. QR code) is detected.

         10.     The invention disclosed in the Patent-in-Suit discloses inventive concepts that

 represent significant improvements in the art and are not mere routine or conventional uses of

 computer components.

                                     ACCUSED PRODUCTS

         11.     Defendant makes, uses, offers for sale and sells in the U.S. products, systems,

 and/or services that infringe the Patent-in-Suit, including, but not limited to certain products and

 services implementing QR code functionality as described in the Patent-in-Suit (collectively, the

 “Accused Products”).

                                            COUNT I
                            (Infringement of U.S. Patent No. 8,424,752)

         12.     Plaintiff incorporates by reference the allegations of paragraphs 1-11, the same as

 if set forth herein.

         13.     The ’752 Patent is valid, enforceable, and was duly and legally issued by the United

 States Patent and Trademark Office (“USPTO”) on April 23, 2013. The ’752 Patent is presumed

 valid and enforceable. See 35 U.S.C. § 282.

         14.     Plaintiff is the owner by assignment of the ’752 Patent and possesses all rights of

 recovery under the ’752 Patent, including the exclusive right enforce the ’752 Patent and pursue

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 lawsuits against infringers.

         15.     Without a license or permission from Symbology, Defendant has infringed and

 continues to infringe on one or more claims of the ’752 Patent—directly, contributorily, and/or by

 inducement—by importing, making, using, offering for sale, or selling products and devices that

 embody the patented invention, including, without limitation, one or more of the patented ’752

 systems and methods, in violation of 35 U.S.C. § 271.

         Direct Infringement

         16.     Defendant has been and now is directly infringing by, among other things,

 practicing all of the steps of the ’752 Patent, for example, through internal testing, quality

 assurance, research and development, and troubleshooting. See Joy Techs., Inc. v. Flakt, Inc., 6

 F.3d 770, 775 (Fed. Cir. 1993); see also 35 U.S.C. § 271 (2006). For instance, Defendant has

 directly infringed the Patent-in-Suit by testing, configuring, and troubleshooting the functionality

 of QR codes on its products and services.

         17.     By way of example, Defendant has infringed and continues to infringe at least one

 or more claims of the ’204 Patent, including at least Claim 1. Attached hereto as Exhibit B is an

 exemplary claim chart detailing representative infringement of claim 1 of the Patent-in-Suit.

         Induced Infringement

         18.     Defendant has been and now is indirectly infringing by way of inducing

 infringement by others and/or contributing to the infringement by others of the ’752 Patent in the

 State of Florida, in this judicial District, and elsewhere in the United States, by, among other things,

 making, using, offering for sale, and/or selling, without license or authority, products affixed with

 QR codes that require the accused technology for intended functionality, testing, configuration,

 troubleshooting, and other utilization. End users include, for example, customers, customers’
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 customers, retail store personnel, and other third parties.

         19.    Defendant took active steps to induce infringement, such as advertising an

 infringing use, which supports a finding of an intention. See Metro-Goldwyn-Mayer Studios Inc.

 v. Grokster, Ltd., 545 U.S. 913, 932 (2005) (“[I]t may be presumed from distribution of an article

 in commerce that the distributor intended the article to be used to infringe another's patent, and so

 may justly be held liable for that infringement").

         20.    The allegations herein support a finding that Defendant induced infringement of the

 ’752 Patent. See Power Integrations v. Fairchild Semiconductor, 843 F.3d 1315, 1335 (Fed. Cir.

 2016) (“[W]e have affirmed induced infringement verdicts based on circumstantial evidence of

 inducement [e.g., advertisements, user manuals] directed to a class of direct infringers [e.g.,

 customers, end users] without requiring hard proof that any individual third-party direct infringer

 was actually persuaded to infringe by that material.”).

         Contributory Infringement

         21.    On information and belief, Defendant contributorily infringes on Symbology’s ’752

 Patent. Defendant knew or should have known, at the very least with the filing of this complaint

 as a result of its freedom to operate analyses, that third parties, such as its customers, would

 infringe the ’752 Patent by implementing Defendant’s QR code technology.

         22.    On information and belief, Defendant’s implementation of the accused

 functionality has no substantial non-infringing uses. See, e.g., Lucent Techs., Inc. v. Gateway, Inc.,

 580 F.3d 1301, 1321 (Fed. Cir. 2009) (holding that the “substantial non-infringing use” element of

 a contributory infringement claim applies to an infringing feature or component, and that an

 “infringing feature” of a product does not escape liability simply because the product as a whole

 has other non-infringing uses).
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         Willful Infringement

         23.    On information and belief, the infringement of the ’752 Patent by Defendant has

 been and continues to be willful. Defendant has had actual knowledge of Symbology’s rights in

 the ’752 Patent and details of Defendant’s infringement based on at least the filing and service of

 this complaint. Additionally, Defendant had knowledge of the ’752 Patent and its infringement in

 the course of Defendant’s due diligence and freedom to operate analyses.

         Plaintiff Suffered Damages

         24.    Defendant’s acts of infringement of the ’752 Patent have caused damage to

 Symbology, and Symbology is entitled to recover from Defendant the damages sustained as a result

 of Defendant’s wrongful acts in an amount subject to proof at trial pursuant to 35 U.S.C. § 271.

 Defendant’s infringement of Symbology’s exclusive rights under the ’752 Patent will continue to

 damage Symbology causing it irreparable harm for which there is no adequate remedy at law,

 warranting an injunction from the Court.

                                    REQUEST FOR RELIEF

         25.    Symbology incorporates each of the allegations in the paragraphs above and

 respectfully asks the Court to:

        (a)     enter a judgment that Defendant has directly infringed, contributorily infringed,

        and/or induced infringement of one or more claims of each of the ’752 Patent;

        (b)     enter a judgment awarding Symbology all damages adequate to compensate it for

        Defendant’s infringement of, direct or contributory, or inducement to infringe, the

        including all pre-judgment and post-judgment interest at the maximum rate permitted by

        law;

        (c)     enter a judgment awarding treble damages pursuant to 35 U.S.C. § 284 for
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        Defendant’s willful infringement of the ’752 Patent

        (d)    issue a preliminary injunction and thereafter a permanent injunction enjoining and

        restraining Defendant, its directors, officers, agents, servants, employees, and those acting

        in privity or in concert with them, and their subsidiaries, divisions, successors, and assigns,

        from further acts of infringement, contributory infringement, or inducement of

        infringement of the ’752 Patent;

        (e)    enter a judgment requiring Defendant to pay the costs of this action, including all

        disbursements, and attorneys’ fees as provided by 35 U.S.C. § 285, together with

        prejudgment interest; and

        (f)    award Symbology all other relief that the Court may deem just and proper.

 Dated: January 28, 2020                       Respectfully submitted,

                                               /s/ Howard L. Wernow
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